                  IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          STATESVILLE DIVISION


 UNITED STATES OF AMERICA,                          DOCKET NO. 5:23-CR-24
       vs.                                          UNOPPOSED MOTION FOR
                                                    EXTENSION OF TIME TO FILE PSR
 MICHELLE WILSHIRE,                                 OBJECTIONS

                Defendant.



       Michelle Wilshire, by and through her counsel of record, Assistant Federal Defenders John

Parke Davis and Nicole Lybrand, moves for a one-month extension for the filing of objections to

the Presentence Report (PSR [Doc. 27]), based on the following considerations:

       1.      Ms. Wilshire pleaded guilty on July 15, 2024.

       2.      The first draft of the Pre-Sentence Report (“PSR”) was docketed on September 10,

2024, with a preliminary objections deadline of September 24, 2024. Ms. Wilshire’s second-chair

counsel sought and received a continuance from that date based on lead counsel’s paternity leave.

       3.      On October 24, 2024, Ms. Wilshire filed a second Unopposed Motion for Extension

of Time to File PSR Objections (the “Second Motion” [Doc.29]), based on lead counsel’s review

of the PSR and determination that additional documentation was needed to adequately respond to

the government’s contention that Ms. Wilshire is responsible for the closure of “Company A,”

warranting a two-level enhancement for causing substantial financial hardship to a victim.

       4.      On October 29, 2024, the government responded to Ms. Wilshire’s requests, and

stated that it intended to provide further information regarding the issue of substantial financial

hardship. In further conversations in November, 2024, the government reiterated its intent to




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provide this information, but noted its efforts to do so were taking longer than expected due to

difficulties of dealing with a dissolved corporation.

           5.        On November 22 and 23, 2024, the government provided Ms. Wilshire with balance

sheets and profit and loss information responsive to Ms. Wilshire’s requests. The government has

also noted the existence of certain other information that may be responsive, and which may still

need to be produced. 1

           6.        Defense counsel needs additional time to obtain all relevant documents that may be

outstanding, review them and determine whether they fully respond to Ms. Wilshire’s request, and

to formulate proper objections. Because it is currently unclear whether the produced documents

will be sufficient, Ms. Wilshire requests an extension of the objections deadline to Monday,

December 23, 2024, to allow for adequate time to receive the requested information, review, and

formulation of proper objections.

           7.        Defense counsel has consulted with Assistant United States Attorney Eric Frick,

and the government does not oppose this motion.

           WHEREFORE, Ms. Wilshire respectfully requests that the deadline for filing PSR

objections be extended from November 25, 2024, to December 23, 2024.



                              Respectfully submitted:



                              s/ John Parke Davis
                              John Parke Davis
                              N.C. Bar No. 34427
                              Federal Public Defender
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    The parties are addressing this latter issue collaboratively at this point, and anticipate its imminent resolution.



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DATE: November 22, 2024




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